Case 2:09-cr-02110-WFN   ECF No. 528   filed 11/16/10   PageID.1889 Page 1 of 6
Case 2:09-cr-02110-WFN   ECF No. 528   filed 11/16/10   PageID.1890 Page 2 of 6
Case 2:09-cr-02110-WFN   ECF No. 528   filed 11/16/10   PageID.1891 Page 3 of 6
Case 2:09-cr-02110-WFN   ECF No. 528   filed 11/16/10   PageID.1892 Page 4 of 6
Case 2:09-cr-02110-WFN   ECF No. 528   filed 11/16/10   PageID.1893 Page 5 of 6
Case 2:09-cr-02110-WFN   ECF No. 528   filed 11/16/10   PageID.1894 Page 6 of 6
